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A0245B          (Rev. 09/08) Judgment in a Criminal Case
vi              Sheet 1



                                            UNITED STATES DISTRICT COURT
                                              MISSOULA DIVISION DISTRICT OF MONTANA
                                                                            )
                UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                    v.                                      )
                                                                            )
                      JUDITH MAY COLLINS                                           Case Number: CR 16-16-BU-DLC-01
                                                                            )
                                                                            )      USM Number: 16353-046
                                                                            )
                                                                            )      Ryan Heuwinkel
                                                                                   Defendant's Attorney
THE DEFENDANT:
!ipleaded guilty to count(s)             1 of the Superseding Information
D pleaded nolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                     Offense Ended              Count

 21 U.S.C. § 846,                    Conspiracy to Possess Methamphetamine with Intent to                  6/7/2016                   1
 21 U.S.C. § 841(b)(1)(8)            Distribute




0 See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 10 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~Count(s)         1-4 of the Indictment                    D is   ii(are dismissed on the motion of the United States.
         It is ordered that the defendant rrust notify the United States attorney r this district within 30 days of an_Y. change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments i  sed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material c an es in economic circumstances.




                                                                        Dana L. Christensen, Chief Judge
                                                                         Name of Judge                              Title of Judge


                                                                        11/17/2016
                                                                            Date
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A0245B          (Rev. 09/08) Judgment in a Criminal Case
vl               Sheet 2 -   Imprisonment

                                                                                                                   Judgment Page: 2 of 10
     DEFENDANT: JUDITH MAY COLLINS
     CASE NUMBER: CR 16-16-BU-DLC-01


                                                                    IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      72 months, to run concurrently to the undischarged terms of imprisonment in Silver Bow County District Court case numbers
      DC-13-141, DC-15-42, and DC-15-130, and Jefferson County District Court case number DC-15-05.



         ilf" The court makes the following recommendations to the Bureau of Prisons:
     (1) Defendant shall participate in the Bureau of Prisons' 500 hour Residential Drug Treatment Program (RDAP}, if eligible.
     (2) Defendant shall be placed at the Bureau of Prisons' facility PCP Alderson in West Virginia, due to the facility's treatment programs.
     Defendant shall be place in the Paws4People service dog training program at PCP Alderson. Defendant is particularly well-suited for this
     program as she is a veteran and is disabled. This program would benefit her rehabilitation and would serve her to benefits others upon release.

         rf' The defendant is remanded to the custody of the United States Marshal.
         D The defendant shall surrender to the United States Marshal for this district:
             0 at                                          D a.m.    D p.m.    on

             D as notified by the United States Marshal.

         D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before                       on

             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
     I have executed this judgment as follows:




             Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ to

     a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                              By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                  ~


                                                                                                DEPUTY UNITED STATES MARSHAL
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A0245B            (Rev. 09/08) Judgment in a Criminal Case
vi                Sheet 3 -   Supervised Release

                                                                                                                         Judgment Page: 3 of 10
 DEFENDANT: JUDITH MAY COLLINS
 CASE NUMBER: CR 16-16-BU-DLC-01
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 5 years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug tests
 thereafter, as detennined by the court.
 D         The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable.)

           The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

           The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D         as direc.ted by the probation offi~er, the Burea1:1 of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was conVIcted of a quahfymg offense. (Check, if applicable.)

 D         The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
      2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted pennission to do so by the probation officer;
     10)    the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observe<I in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforceirent officer;
     12)    the d~fepdant shall not enter into any agreement to act as an infonner or a special agent of a law enforcemnt agency without the
            penn1ss1on of the court; and

     13)    as directed by the probation officer, the defendant shall notiw third parties of risks that may be occasioned by the defendant's criminal
            record or ~ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
            defendant s compliance with such notification requirement.
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A0245B       (Rev. 09/08) Judgment in a Criminal Case
vl           Sheet 3C -    Supervised Release

                                                                                            Judgment Page: 4 of IO
 DEFENDANT: JUDITH MAY COLLINS
 CASE NUMBER: CR 16-16-BU-DLC-01

                                            SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall not ingest or inhale any toxic substances such as, but not limited to, synthetic
     marijuana and/or synthetic stimulants that are not manufactured for human consumption, for the
     purpose of altering their mental or physical state.

     2. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or
     possess a medical marijuana card or prescription. This condition supersedes standard condition
     number 7 with respect to marijuana only.

     3. The defendant shall participate in a program for mental health treatment as deemed necessary by
     the United States Probation Officer, until such time as the defendant is released from the program by
     the probation officer. The defendant is to pay part or all of the cost of this treatment, as directed by the
     United States Probation Office.

     4. The defendant shall submit their person, residence, place of employment, vehicles, and papers, to
     a search, with or without a warrant by any probation officer based on reasonable suspicion of
     contraband or evidence in violation of a condition of release. Failure to submit to search may be
     grounds for revocation. The defendant shall warn any other occupants that the premises may be
     subject to searches pursuant to this condition. The defendant shall allow seizure of suspected
     contraband for further examination.

     5. The defendant shall participate in and complete a program of substance abuse treatment as
     approved by the United States Probation Office, until the defendant is released from the program by
     the probation officer. The defendant is to pay part or all of the cost of this treatment, as directed by the
     United States Probation Office.

     6. The defendant shall abstain from the consumption of alcohol and shall not enter establishments
     where alcohol is the primary item of sale. This condition supersedes standard condition number 7 with
     respect to alcohol consumption only.

     7. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis
     tests, not more than 365 breathalyzer tests, and not more than 36 sweat patch applications annually
     during the period of supervision. The defendant shall pay all or part of the costs of testing as directed
     by the United States Probation Office.
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A0245B       (Rev. 09/08) Judgment in a Criminal Case
vi            Sheet 5 - Criminal Monetary Penalties

                                                                                                                      Judgment Page: 5 of 10
 DEFENDANT: JUDITH MAY COLLINS
 CASE NUMBER: CR 16-16-BU-DLC-01
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                             Fine                            Restitution
 TOTALS            $ 100.00                                               $ 0.00                          $ 0.00


 D The determination of restitution is deferred until - - - - -. An Amended Judgement in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned Rayment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                        Total Loss*              Restitution Ordered    Priority or Percentage




 TOTALS                                                                                $0.00                   0.00


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the               D fine     D restitution.
      D the interest requirement for the              D   fine    D restitution is modified as follows:


 *Findings for the total annunt oflosses are required under Chap:ers 109A, 110, 1 lOA, and 113A of Title 18 foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                          Case 2:16-cr-00016-DLC Document 36 Filed 11/17/16 Page 6 of 6
A0245B          (Rev. 09/08) Judgment in a Criminal Case
vi            Sheet 6 -   Schedule of Payments

                                                                                                                              Judgment Page: 6 of 10
 DEFENDANT: JUDITH MAY COLLINS
 CASE NUMBER: CR 16-16-BU-DLC-01

                                                            SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    M Lump sum payment of$ _1_0_0_.0_0____ due immediately, balance due
            D       not later than                                     , or
            ri/     in accordance           D C,           D D,   D      E, or     ri/ F below; or
 B    D    Payment to begin immediately (may be combined with                    D C,       D D, or       D F below); or
 C    D    Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                             (e.g., months or years}, to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                             (e.g., months or years}, to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    rif Special instructions regarding the payment of criminal monetary penalties:
            Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per quarter,
            and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary
            payments shall be made to the Clerk, United States District Court, P.O. Box 8537, Missoula, MT 59807.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payrnmt of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the~ederal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number}, Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
